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                EXHIBIT E
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        US8861512                                                 HCL Sametime (“The Accused Product”)
1. A method of enabling     The accused product discloses a method of enabling a wireless device (e.g., Smartphone), located in a region, to
a wireless device,          initiate a network connection (e.g., SIP Invite) without using a network operator's home location register that covers
located in a region, to     that region.
initiate a network
connection without          The accused product uses Internet or IP network for calling. As shown below, the accused product doesn’t make use
using a network             of home location register (e.g., HLR).
operator's home location
register that covers that
region, comprising the
steps of:
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(a) the wireless device    The wireless device (e.g., Smartphone) using a module (e.g., HCL Sametime application) that is responsible for
using a module that is     contacting a server (e.g., HCL Sametime server) to communicate with the server (e.g., HCL Sametime server) over
responsible for            a wireless link (e.g., Wi-Fi/Cellular link), wherein the wireless device (e.g., Smartphone) includes the module (e.g.,
contacting a server to     HCL Sametime application) that is implemented as software and that is downloadable to the wireless device (e.g.,
communicate with the       Smartphone).
server over a wireless
link, wherein the device
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includes the module that
is implemented as
software and that is
downloadable to the
device;




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(b) the wireless device    The wireless device (e.g., Smartphone) using the module (e.g., HCL Sametime application) to send, over the wireless
using the module to        link (e.g., Wi-Fi/Cellular link), data to the server (e.g., HCL Sametime server) that defines a call request (e.g., Invite
send, over the wireless    signal from caller to server).
link, data to the server
that defines a call
request;
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(c) in response to the      In response to the call request (e.g., Invite signal from caller to server), a software application (e.g., software
call request, a software    pertaining to SIP proxy running at HCL server to route/manage calls) running on the server (e.g., HCL Sametime
application running on      Server) deciding on the appropriate routing (e.g., Invite signal from server to callee) to a third party end-user (e.g.,
the server deciding on      Other users using HCL Sametime ) over all available networks for that call request (e.g., Invite signal from caller to
the appropriate routing     server) without using the network operator's home or visitor location register.
to a third party end-user
over all available
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networks for that call
request without using
the network operator's
home or visitor location
register.




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12. The method of claim The module (e.g., HCL Sametime application) establishes and control communication (e.g., SIP communication)
1 in which the module    between the wireless device (e.g., Smartphone) and the server (e.g., HCL Sametime server).
establishes and controls
communication between
the device and the
server.
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23. A system              The accused product discloses a system comprising a wireless device (e.g., Smartphone) located in a region and a
comprising a wireless     server (e.g., HCL Sametime Server) for enabling the wireless device (e.g., Smartphone) to communicate with the
device located in a       server (e.g., HCL Sametime Server) to initiate a network connection (e.g., SIP Invite) without using a network
region and a server for   operator's home location register that covers that region, wherein the server includes a software application (e.g.,
enabling the wireless     software running at HCL server to route/manage calls) that functions as a calls manager.
device to communicate
with the server to
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initiate a network
connection without
using a network
operator's home location
register that covers that
region, wherein the
server includes a
software application that
functions as a calls
manager, wherein:




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(a) the wireless device is   The wireless device (e.g., Smartphone) is operable using a module (e.g., HCL Sametime application) that is
operable using a module      responsible for contacting a server (e.g., HCL Sametime server) to communicate with the server (e.g., HCL Sametime
that is responsible for      server) over a wireless link (e.g., Wi-Fi/Cellular link), wherein the wireless device (e.g., Smartphone) includes the
contacting the server to     module (e.g., HCL Sametime application) that is implemented as software and that is downloadable to the wireless
communicate with the         device (e.g., Smartphone).
server over a wireless
link, wherein the device
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includes the module that
is implemented as
software and that is
downloadable to the
device;




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(b) the wireless device is The wireless device (e.g., Smartphone) is operable using the module (e.g., HCL Sametime application) to send, over
operable using the         the wireless link (e.g., Wi-Fi/Cellular link), data to the server (e.g., HCL Sametime server) that defines a call request
module to send, over the (e.g., Invite signal from caller to server).
wireless link, data to the
server that defines a call
request;
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(c) in response to the      In response to the call request (e.g., Invite signal from caller to server), the calls manager software (e.g., software
call request, the calls     pertaining to SIP proxy running at HCL server Server to route/manage calls) included on the server (e.g., HCL
manager software            Sametime Server) is operable to decide on the appropriate routing (e.g., Invite signal from server to callee) to a third
included on the server is   party end-user (e.g., Other users using HCL Sametime ) over all available networks for that call request (e.g., Invite
operable to decide on       signal from caller to server) without using the network operator's home or visitor location register.
the appropriate routing
to a third party end-user
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over all available
networks for that call
request without using
the network operator's
home or visitor location
register.




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24. A server for        The accused product discloses a server enabling a wireless device (e.g., Smartphone) to communicate with the server
enabling a wireless     (e.g., HCL Sametime Server) to initiate a network connection (e.g., SIP invite) without using a network operator's
device to communicate   home location register that covers that region, wherein the server includes a software application (e.g., software
with the server to      running at MiCollab server to route/manage calls) that functions as a calls manager.
initiate a network
connection without
using a network
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operator's home location
register, wherein the
server includes a
software application that
functions as a calls
manager, wherein:




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(a) the wireless device is   The wireless device (e.g., Smartphone) is operable using a module (e.g., HCL Sametime application) that is
operable using a module      responsible for contacting a server (e.g., HCL Sametime server) to communicate with the server (e.g., HCL Sametime
that is responsible for      server) over a wireless link (e.g., Wi-Fi/Cellular link), wherein the wireless device (e.g., Smartphone) includes the
contacting the server to     module (e.g., HCL Sametime application) that is implemented as software and that is downloadable to the wireless
communicate with the         device (e.g., Smartphone).
server over a wireless
link, wherein the device
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includes the module that
is implemented as
software and that is
downloadable to the
device;




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(b) the wireless device is The wireless device (e.g., Smartphone) is operable using the module (e.g., HCL Sametime application) to send, over
operable using the         the wireless link (e.g., Wi-Fi/Cellular link), data to the server (e.g., HCL Sametime server) that defines a call request
module to send, over the (e.g., Invite signal from caller to server).
wireless link, data to the
server that defines a call
request;
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(c) in response to the      In response to the call request (e.g., Invite signal from caller to server), call manager software (e.g., software
call request, the calls     pertaining to SIP proxy running at HCL server Server to route/manage calls) included on the server (e.g., HCL
manager software            Sametime Server) is operable to decide on the appropriate routing (e.g., Invite signal from server to callee) to a 3rd
included on the server is   party end-user (e.g., Other users using HCL Sametime ) for that call request without using the network operator's
operable to decide on       home or visitor location register.
the appropriate routing
to a third party end-user
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over all available
networks for that call
request without using
that network operator's
home or visitor location
register.




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